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                                                                    CLERKS OFFICE U.S. DIST. COURT
                                                                       AT CHARLOTTESVILLE, VA
                                                                               FILED
                     IN THE UNITED STATES DISTRICT COURT                     05/04/2020
                    FOR THE WESTERN DISTRICT OF VIRGINIA                JULIA C. DUDLEY, CLERK
                              Charlottesville Division                  BY: /s/ J. JONES
                                                                           DEPUTY CLERK
  ELIZABETH SINES et al.,             )       Civil Action No. 3:17-cv-00072
       Plaintiffs,                    )
                                      )
  v.                                  )       ORDER
                                      )
  JASON KESSLER et al.,               )
       Defendants.                    )       By:    Joel C. Hoppe
                                      )              United States Magistrate Judge

          This matter is before the Court on Plaintiffs’ motions to allow Direct Access to Certain

  Discovery of Defendant Jason Kessler and Defendant Vanguard America. ECF Nos. 650, 652.

  On April 27, 2020, I held a discovery status conference at which Plaintiffs’ counsel and

  Kessler’s counsel appeared by telephone. Dillon Hopper appeared in his capacity as Vanguard

  America’s authorized agent. At the conference, Plaintiffs’ counsel informed the Court that the

  disputes underlying both motions had been resolved. Tr. of Disc. Status Conf. 6–7, ECF No. 721.

  Accordingly, the motions, ECF Nos. 650, 652, are hereby DENIED without prejudice as moot.

         IT IS SO ORDERED.

         The Clerk shall send a copy of this Order to the parties and to Mr. Hopper at his address

  of record.

                                                      ENTER: May
                                                               y 4, 2020



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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